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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
v.                                                   )       Case No. 4:13CR3122
                                                     )
MARY E. MERKEL,                                      )
                                                     )
                              Defendant.             )

                                              ORDER

        THIS MATTER comes before the Court on Ms. Merkel’s Unopposed Motion to Continue

the Deadline for Filing Pretrial Motions and Trial. Ms. Merkel seeks to continue her pretrial motion

deadline from December 20, 2013, until January 20, 2014, and to continue her jury trial now set

for January 13, 2014, for approximately 90 days. The Court, being fully advised in the premises,

and noting the Government has no objection, finds that said motions should be granted.

        IT IS THEREFORE ORDERED that Ms. Merkel shall file any pretrial motions in the above

captioned matter no later than January 20, 2014, and the jury trial shall be continued until April

14, 2014 at 9:00 a.m. This Court further finds that, based upon the showing set forth in Ms.

Merkel’s Motion, the ends of justice will be served by extending the deadline for filing pretrial

motions and continuing her trial. Further, that taking such action outweighs the best interests of

the public and the defendant in a speedy trial. Accordingly, the time from December 20, 2013,

until the date next set for trial, shall be excluded from any speedy trial calculation pursuant to 18

U.S.C. §3161(h)(8)(A).

        Dated this 19th day of December, 2013.



                                                     BY THE COURT:


                                                     s/ Cheryl R. Zwart
                                                     The Honorable Cheryl R. Zwart
                                                     United States Magistrate Judge
